                  Case
44609-048 (Rev. 06/05)    2:09-cr-00494-KJD-VCF
                       Amended Judgment in a Criminal Case              Document 55             Filed 10/06/10 (NOTE:
                                                                                                                  Page    1 of
                                                                                                                      Identify   6 with Asterisks (*))
                                                                                                                               Changes
OAO 245C Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                        District of
           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                   CALVIN A. GRIBBLE                                             Case Number:                     2:09-CR-494
                                                                                 USM Number:                      44609-048
Date of Original Judgment: 9/13/2010                                             Osvaldo Fumo
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
x Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 G Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
x    pleaded guilty to count(s)       1 of the indictment
G    pleaded nolo contendere to count(s)
     which was accepted by the court.
G    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                              Offense Ended                   Count
18 USC §1349                        Conspiracy to Commit Bank Fraud, Mail Fraud and W ire Fraud                   1/31/2005                    1




       The defendant is sentenced as provided in pages 2                   through 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
x    Count(s)               remaining counts                  G is x are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 September 13, 2010
                                                                                 Date of Imposition of Judgment



                                                                                 Signature of Judge
                                                                                 KENT J. DAW SON, U.S. DISTRICT JUDGE
                                                                                 Name and Title of Judge
                                                                                  October 6, 2010
                                                                                 October 4, 2010
                                                                                 Date
                Case 2:09-cr-00494-KJD-VCF                      Document 55           Filed 10/06/10           Page 2 of 6
AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 2 — Imprisonment                                                                          (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment — Page         2     of         6
DEFENDANT:                CALVIN A. GRIBBLE
CASE NUMBER:              2:09-CR-494

                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term
                                               12 MONTHS AND 1 DAY




x   The court makes the following recommendations to the Bureau of Prisons:
    The Court recommends the Defendant be permitted to serve his term at Terminal Island.




G The defendant is remanded to the custody of the United States Marshal.

x   The defendant shall surrender to the United States Marshal for this district:
    x      at              12:00                 G     a.m.      x    p.m.      on     1/14/2011                          .

    G      as notified by the United States Marshal.

G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

    G      before 2 p.m. on                                              .

    G      as notified by the United States Marshal.

    G      as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                             to

a                                                      with a certified copy of this judgment.




                                                                                                    UNITED STATES MARSHAL


                                                                         By
                                                                                                 DEPUTY UNITED STATES MARSHAL
                Case 2:09-cr-00494-KJD-VCF                      Document 55           Filed 10/06/10           Page 3 of 6
AO 245C      (Rev. 06/05) Amended Judgment in a Criminal Case
             Sheet 3 — Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page        3      of         6
DEFENDANT:                  CALVIN A. GRIBBLE
CASE NUMBER:                2:09-CR-494
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
                                                              5 years




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

G      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

G      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)

G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
AO 245C      Case
          (Rev.        2:09-cr-00494-KJD-VCF
                06/05) Amended Judgment in a Criminal Case   Document 55   Filed 10/06/10       Page 4 of 6
          Sheet 3C — Supervised Release                                                     (NOTE: Identify Changes with Asterisks (*))
                                                                                       Judgment—Page          4      of         6
DEFENDANT:              CALVIN A. GRIBBLE
CASE NUMBER:            2:09-CR-494

                                     SPECIAL CONDITIONS OF SUPERVISION

1. The defendant shall not possess, have under his control, or have access to any firearm, explosive device, or
other dangerous weapons, as defined by Federal, state or local law.
2. The defendant shall submit to the search of his person, property, residence, place of business and vehicle under
his control to a search conducted by the United States Probation Officer or any authorized person under the
immediate and personal supervision of the probation officer, at a reasonable time and in a reasonable manner,
based upon reasonable suspicion of contraband or evidence of a violation of a condition of supervision; failure to
submit to a search may be grounds for revocation; the defendant shall inform any other residents that the premises
may be subject to a search pursuant to this condition.
3. The defendant shall participate in and successfully complete a mental health treatment program, which may
include testing, evaluation, medication management, outpatient counseling or residential placement, as approved
and directed by the Probation Officer. Further, the defendant shall be required to contribute to the costs of
services for such treatment, as approved and directed by the Probation Officer based upon his ability to pay.
4. The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the Probation Officer.
6. The defendant shall provide the probation officer access to any requested financial information, including
personal income tax returns, authorization for release of credit information, and any other business financial
information in which he has a control or interest.
7. The defendant shall be restricted from engaging in employment, consulting, or any association with any
mortgage lending, consulting or real-estate business for a period of five years.
8. The defendant shall report in person to the Probation Office in the District to which he is released within 72
hours of discharge from custody.
              Case 2:09-cr-00494-KJD-VCF                        Document 55             Filed 10/06/10           Page 5 of 6
AO 245C    (Rev. 06/05) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                             (NOTE: Identify Changes with Asterisks (*))
                                                                                                    Judgment — Page 5             of           6
DEFENDANT:                       CALVIN A. GRIBBLE
CASE NUMBER:                     2:09-CR-494
                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                                   Restitution
TOTALS           $   100.00                                      $    waived                               $ 175,000.00



G   The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                           Restitution Ordered                      Priority or Percentage
Bank W est of Nevada*                             $175,000.00                                $175,000.00                                     100%




TOTALS                             $ 175,000.00*                             $    175,000.00 *


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for          G fine        G restitution.
     G the interest requirement for the              Gfine       Grestitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
               Case 2:09-cr-00494-KJD-VCF                          Document 55        Filed 10/06/10          Page 6 of 6
AO 245C     (Rev. 06/05) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page       6      of         6
DEFENDANT:                 CALVIN A. GRIBBLE
CASE NUMBER:               2:09-CR-494

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    x    Lump sum payment of $            $175,100.00             due immediately, balance due

          G    not later than                                      , or
          x    in accordance with     G C,       G D,          G   E, or    x F below; or
B    G    Payment to begin immediately (may be combined with               G C,      G D, or      G F below); or
C    G    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    x    Special instructions regarding the payment of criminal monetary penalties:
          If any balance remains due upon release, it shall be paid at a monthly rate of 10% of gross income, subject to adjustment based
          upon ability to pay.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




x    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.
     2:09-cr-494-KJD-LRL-1 Tarl Brandon $175,000.00 Joint & Several Amount, same payee. *




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
